         Case 8:25-cv-00337-BAH                Document 1          Filed 02/04/25         Page 1 of 44



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

 PFLAG, INC.,
 1625 K St. NW, Suite 700, Washington, DC 20006;

 AMERICAN ASSOCIATION OF PHYSICIANS
 FOR HUMAN RIGHTS, INC. d/b/a
 GLMA: HEALTH PROFESSIONALS
 ADVANCING LGBTQ+ EQUALITY,
 1629 K St. NW, Suite 300, Washington, DC 20006;

 GABE GOE, by and through his parent and next
 friend George Goe;

 GEORGE GOE;

 BELLA BOE, by and through her parent and next                       Civil Action No. __________
 friend Bruce Boe;

 BRUCE BOE;                                                          COMPLAINT FOR DECLARATORY AND
                                                                     INJUNCTIVE RELIEF
 CAMERON COE, by and through their parent and
 next friend CLAIRE COE;

 CLAIRE COE;

 ROBERT ROE, by and through his parent and next
 friend Rachel Roe;

 RACHEL ROE;

 B.G. a/k/a W.G., by and through her parent and next
 friend Kristen Chapman;

 KRISTEN CHAPMAN;

 LAWRENCE LOE; and

 DYLAN DOE,

          Plaintiffs,

                            v.



* Plaintiffs are filing a motion to waive the requirement under Local Rule 102.2(a) to provide their addresses and to
permit Plaintiffs Gabe Goe, George Goe, Bella Boe, Bruce Boe, Cameron Coe, Claire Coe, Robert Roe, Rachel Roe,
Lawrence Loe, and Dylan Doe to proceed under pseudonyms. Though the initials for Plaintiff B.G.’s legal name are
B.G, she is known by and uses the name W.G. in accordance with her female gender identity.
      Case 8:25-cv-00337-BAH         Document 1     Filed 02/04/25   Page 2 of 44



DONALD J. TRUMP, in his official capacity as
President of the United States,
1600 Pennsylvania Ave. NW
Washington, DC 20220;

U.S. DEPARTMENT OF HEALTH AND HUMAN
SERVICES,
200 Independence Ave. SW
Washington, DC 20201;

DOROTHY A. FINK, in her official capacity as
Acting Secretary of the U.S. Department of Health
and Human Services,
200 Independence Ave. SW
Washington, DC 20201;

HEALTH RESOURCES AND SERVICES
ADMINISTRATION,
5600 Fishers Lane
Rockville, MD 20857 (Montgomery County);

DIANA ESPINOSA, in her official capacity as
Principal Deputy Administrator of the Health
Resources and Services Administration,
5600 Fishers Lane
Rockville, MD 20857 (Montgomery County);

NATIONAL INSTITUTES OF HEALTH,
9000 Rockville Pike
Bethesda, MD 20892 (Montgomery County);

MATTHEW J. MEMOLI, in his official capacity as
Acting NIH Director,
9000 Rockville Pike
Bethesda, MD 20892 (Montgomery County);

       Defendants.
        Case 8:25-cv-00337-BAH               Document 1         Filed 02/04/25        Page 3 of 44



        Plaintiffs, by and through their attorneys, bring this Complaint against Defendants and in

support state the following:

                                            INTRODUCTION

        1.       Over the past week, hospitals across the country have abruptly halted medical care

for transgender people under nineteen, cancelling appointments and turning away some patients

who have waited years to receive medically necessary care for gender dysphoria. This sudden

shut-down in care was the direct and immediate result of an Executive Order that President Trump

issued on January 28, 2025—Protecting Children from Chemical and Surgical Mutilation—

directing all federal agencies to “immediately take appropriate steps to ensure that institutions

receiving Federal research or education grants end” gender affirming medical care for people under

nineteen (the “Denial of Care Order”). 1

        2.       The Denial of Care Order, directing that federal funding be immediately revoked

from entities that provide gender affirming medical care for patients under nineteen years old,

follows on the heels of an earlier Executive Order that President Trump issued on January 20,

2025—Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the

Federal Government (the “Gender Identity Order”). 2 The Gender Identity Order declares that

gender identity is a “false” idea and commands that federal funds “shall not be used to promote

gender ideology.”

        3.       The Executive Orders were issued for the openly discriminatory purpose of

preventing transgender people from expressing a gender identity different from their sex




1
 Exec. Order No. 14,187, Protecting Children from Chemical and Surgical Mutilation, 90 Fed. Reg. 8,771 (Jan. 28,
2025).
2
  Exec. Order No. 14,168, Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the
Federal Government, 90 Fed. Reg. 8,615 (Jan. 20, 2025).



                                                       1
       Case 8:25-cv-00337-BAH           Document 1       Filed 02/04/25      Page 4 of 44



designated at birth—and expressing governmental disapproval of transgender people who, by

definition, have a gender identity that does not align with their sex designated at birth. These

Orders are part of a government-wide effort by the Trump Administration to restrict legal

protections and essential services for the transgender community.

       4.      Plaintiffs Gabe Goe, Bella Boe, Cameron Coe, Robert Roe, and W.G. (the “Minor

Plaintiffs”), Plaintiffs Lawrence Loe and Dylan Doe (the “Adult Plaintiffs”), and certain PFLAG

members are transgender people under the age of nineteen who have been thriving because they

have had access to medically necessary treatment for their gender dysphoria (collectively, the

“Transgender Plaintiffs”). President Donald Trump, through the Denial of Care and Gender

Identity Orders, unilaterally seeks to terminate access to this health care immediately by directing

agencies to withhold funding from entities that “promote gender ideology” or provide medical care

to transgender people under nineteen for the purpose of gender transition.

       5.      These Executive Orders are unlawful and unconstitutional. Under our Constitution,

it is Congress, not the President, who is vested with the power of the purse. The President does

not have unilateral power to withhold federal funds that have been previously authorized by

Congress and signed into law, and the President does not have the power to impose his own

conditions on the use of funds when Congress has not delegated to him the power to do so.

       6.      The Executive Orders unconstitutionally usurp congressional authority by

withholding lawfully appropriated federal funds from medical institutions, providers, and

researchers, such as GLMA’s health professional members. They violate the rights of thousands

of transgender people under nineteen, including the Transgender Plaintiffs, by depriving them of

necessary medical care solely on the basis of their sex and transgender status. They also infringe

upon parents’ fundamental rights, including the rights of Plaintiffs George Goe, Bruce Boe, Claire




                                                 2
        Case 8:25-cv-00337-BAH              Document 1         Filed 02/04/25        Page 5 of 44



Coe, Rachel Roe, and Kristen Chapman (the “Parent Plaintiffs”) and parent members of PFLAG,

by overriding the aligned judgment of parents, adolescents, and their doctors regarding necessary

medical care.

        7.      President Trump’s directives to cut off funding have had concrete and immediate

effects. Hospitals across the country, including those that have provided medical care to the

Transgender Plaintiffs, have ended the provision of ongoing and essential gender affirming

medical care to transgender patients under nineteen because of the Executive Orders. 3

        8.      Defendant Health Resources and Services Administration (“HRSA”) has already

issued notices to grant recipients that HRSA grant funds may not be used for activities that “do not

align with” the Executive Orders and any “vestige, remnant, or re-named piece of any programs

in conflict with these E.O.s are terminated in whole or in part.”

        9.      When the President usurps congressional authority and infringes on the

constitutional rights of individuals, the essential role of the courts is to “say what the law is.” The

Executive Orders should be declared unlawful, and the agency defendants should be enjoined from

enforcing or implementing them.

                                    JURISDICTION AND VENUE

        10.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action arises under

the laws of the United States and the United States Constitution; 28 U.S.C. § 1346, as a civil action

against the United States founded upon the Constitution, an Act of Congress, or an executive

regulation; and 28 U.S.C. § 1361, as an action to compel an officer or employee of the United

States or an agency to perform a duty owed to the plaintiff.



3
 News Release, President Trump is Delivering on His Commitment to Protect Our Kids, THE WHITE HOUSE (Feb. 3,
2025),    https://www.whitehouse.gov/uncategorized/2025/02/president-trump-is-delivering-on-his-commitment-to-
protect-our-kids/.



                                                      3
       Case 8:25-cv-00337-BAH           Document 1        Filed 02/04/25      Page 6 of 44



       11.     An actual controversy exists between the parties within the meaning of 28 U.S.C.

§ 2201(a), and this Court may grant declaratory, injunctive, and other relief pursuant to 28 U.S.C.

§§ 2201-2202 and Rules 57 and 65 of the Federal Rules of Civil Procedure.

       12.     Venue is proper under 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1) because each

defendant is an agency of the United States or an officer of the United States sued in their official

capacity, Defendant HRSA and Defendant National Institutes of Health (“NIH”) reside in

Montgomery County, Plaintiffs Gabe and George Goe reside in Montgomery County, and a

substantial part of the events or omissions giving rise to this action occurred and continue to occur

in this district because Gabe and George Goe reside in this district and Defendants HRSA and NIH

are among the federal agencies that have been instructed to withhold grants and Defendant HRSA

has already taken action to do so.

                                            PARTIES

A.     Plaintiffs

       1.      The Member Organization Plaintiffs

       13.     Plaintiff PFLAG, Inc. (“PFLAG”) is a 501(c)(3) national membership nonprofit

organization based in Washington, D.C. and incorporated in California. PFLAG is the first and

largest organization dedicated to supporting, educating, and advocating for lesbian, gay, bisexual,

transgender, and queer (“LGBTQ+”) people, their parents and families, and allies. People become

PFLAG members by joining the national organization directly or through one of its nearly 350

local chapters throughout the United States. PFLAG has more than 550,000 members and

supporters nationwide, including many families of transgender youth who currently receive or will

soon need to access the medical treatment for gender dysphoria that the Executive Orders seek to

prohibit. PFLAG’s mission is to create a caring, just, and affirming world for LGBTQ+ people

and those who love them. Encouraging and supporting parents and families of transgender and


                                                 4
       Case 8:25-cv-00337-BAH           Document 1        Filed 02/04/25      Page 7 of 44



gender non-conforming people in affirming and loving their children and helping them access the

supports and care they need is central to PFLAG’s mission. PFLAG brings its claims on behalf of

its members. The Transgender Plaintiffs and Parent Plaintiffs are members of PFLAG.

       14.     Plaintiff American Association of Physicians for Human Rights, Inc. d/b/a GLMA:

Health Professionals Advancing LGBTQ+ Equality (“GLMA”) is a 501(c)(3) national nonprofit

membership organization based in Washington, D.C. and incorporated in California. GLMA’s

mission is to ensure health equity for LGBTQ+ people and equality for LGBTQ+ health

professionals in their work and learning environments.            GLMA’s membership includes

approximately 1,000 member physicians, nurses, advanced practice nurses, physician assistants,

researchers and academics, behavioral health specialists, health-profession students, and other

health professionals throughout the country. Their practices represent the major healthcare

disciplines and a wide range of health specialties, including primary care, internal medicine, family

practice, psychiatry, pediatrics, obstetrics/gynecology, emergency medicine, neurology, and

infectious diseases. GLMA asserts its claims in this lawsuit on behalf of its members, including

health professional members who work at medical institutions receiving grant funding from

Defendants HRSA and NIH as well as other subagencies of Defendant U.S. Department of Health

and Human Services (“HHS”).

       2.      The Individual Plaintiffs and Their Families

               a.      The Goe Family

       15.     Plaintiffs Gabe and George Goe live in Bethesda, Maryland. George is the father

of Gabe, his fourteen-year-old son. The Goe family are members of PFLAG.

       16.     Gabe is transgender and was scheduled to receive medically necessary care that the

Executive Orders prohibit.




                                                 5
       Case 8:25-cv-00337-BAH              Document 1   Filed 02/04/25      Page 8 of 44



               b.     The Boe Family

       17.     Plaintiffs Bruce Boe and Bella Boe live in New York. Bruce is the father of Bella,

his twelve-year-old daughter. The Boe family are members of PFLAG.

       18.     Bella is transgender and was scheduled to receive medically necessary care that the

Executive Orders prohibit.

               c.     The Coe Family

       19.     Plaintiffs Cameron and Claire Coe live in New York. Claire is the mother of

Cameron, who is twelve years old. The Coe family are members of PFLAG.

       20.     Cameron is non-binary, is receiving, and was scheduled to receive medically

necessary care that the Executive Orders prohibit.

               d.     The Roe Family

       21.     Plaintiffs Rachel and Robert Roe live in Massachusetts. Rachel is the mother of

Robert, her sixteen-year-old son. The Roe family are members of PFLAG.

       22.     Robert is transgender and is receiving medically necessary care that the Executive

Orders prohibit.

               e.     The Chapman Family

       23.     Plaintiffs W.G. and Kristen Chapman live in Virginia. Kristen is the mother of

W.G., her seventeen-year-old daughter. Kristen and W.G. are members of PFLAG.

       24.     W.G. is transgender, is receiving, and was scheduled to receive medically necessary

care that the Executive Orders prohibit.

               f.     Lawrence Loe

       25.     Plaintiff Lawrence Loe is eighteen years old and lives in New York. He is a

member of PFLAG.




                                                 6
       Case 8:25-cv-00337-BAH           Document 1        Filed 02/04/25      Page 9 of 44



       26.     Lawrence is transgender, is receiving, and was scheduled to receive medically

necessary care that the Executive Orders prohibit.

               g.      Dylan Doe

       27.     Plaintiff Dylan Doe lives in Massachusetts. He is eighteen years old. He is a

member of PFLAG.

       28.     Dylan is transgender, is receiving, and was scheduled to receive medically

necessary care that the Executive Orders prohibit.

B.     Defendants

       29.     Defendant Donald J. Trump is the President of the United States. He is responsible

for the actions and decisions that Plaintiffs challenge in this action and he is sued in his official

capacity.

       30.     Defendant U.S. Department of Health and Human Services (“HHS”) is a cabinet

department of the federal government.         HHS is an “agency” within the meaning of the

Administrative Procedure Act, 5 U.S.C. § 551(1). Multiple agencies, offices, and entities of HHS

provide grants and funding to healthcare providers and medical institutions. Aside from Defendant

HRSA and Defendant NIH, this includes the Centers for Disease Control and Prevention (“CDC”),

the Agency for Healthcare Research and Quality (“AHRQ”), and the Substance Abuse and Mental

Health Services Administration (“SAMHSA”). HHS also allots Preventive Health and Health

Services Block Grants under the Public Health Service Act (“PHSA”).

       31.     Defendant Dorothy A. Fink is the Acting Secretary of HHS. She is sued in her

official capacity. Acting Secretary Fink is responsible for all aspects of the operation and

management of HHS, implementing and fulfilling HHS’s duties under the United States

Constitution and statutory law.




                                                 7
       Case 8:25-cv-00337-BAH           Document 1       Filed 02/04/25      Page 10 of 44



       32.     Defendant Health Resources and Services Administration (“HRSA”) is an agency

of HHS located in Rockville, Maryland. It provides financial support to healthcare providers in

the United States through grants to those providers.

       33.      Defendant Diana Espinosa is the Principal Deputy Administrator of HRSA. She

is sued in her official capacity. As Principal Deputy, Defendant Espinosa oversees the design and

implementation of HRSA’s programs and grants.

       34.     Defendant National Institutes of Health (“NIH”) is a part of HHS and is the nation’s

medical research agency and the largest public funder of biomedical research in the world. It is

located in Bethesda, Maryland. NIH offers funding for many types of grants, contracts, and even

programs that help repay loans for researchers.

       35.     Defendant Matthew J. Memoli is the Acting NIH Director. He is sued in his official

capacity. The Office of the Director is the central office at NIH, responsible for setting policy for

NIH and for planning, managing, and coordinating the programs and activities of all NIH

components. Acting NIH Director Memoli is responsible for providing leadership to NIH,

overseeing the overall direction of the agency’s activities, and identifying needs and opportunities

for NIH.

       36.     Defendants HHS, Acting HHS Secretary Fink, HRSA, HRSA Principal Deputy

Espinosa, NIH, and Acting NIH Director Memoli are referred to collectively as the “Agency

Defendants.”

                                  FACTUAL ALLEGATIONS

A.     Medical Guidelines for Treating Gender Dysphoria

       37.     Doctors in hospitals and other medical facilities that receive federal funding have

long followed and continue to use evidence-based, well-researched, and widely accepted clinical

practice and medical guidelines to assess, diagnose, and treat adolescents and adults with gender


                                                  8
        Case 8:25-cv-00337-BAH                 Document 1           Filed 02/04/25          Page 11 of 44



dysphoria, which is a medical condition characterized by the clinically significant distress caused

by the incongruence between a person’s gender identity and the sex they were assigned at birth.

         38.      Decades of clinical experience and a large body of scientific and medical literature

support these medical guidelines, which are recognized as authoritative by the major medical

associations in the United States. These guidelines provide a framework for the safe and effective

treatment of gender dysphoria, which, if left untreated, can have serious consequences for the

health and wellbeing of transgender people, including adolescents. For some adolescent patients

with gender dysphoria, puberty-delaying treatment and hormone therapy are medically indicated.

         39.      Gender identity refers to a person’s internal sense of belonging to a particular

gender. Everyone has a gender identity, and a person’s gender identity is durable and cannot be

altered voluntarily or changed through medical intervention.

         40.      A person’s gender identity usually matches the sex they were designated at birth

based on their external genitalia. 4

         41.      Most boys are designated male at birth based on their external genital anatomy, and

most girls are designated female at birth based on their external genital anatomy.

         42.      But transgender people have a gender identity that differs from their sex designated

at birth. A transgender boy is someone who was designated a female sex at birth but has a male

gender identity. A transgender girl is someone who was designated a male sex at birth but has a

female gender identity. A transgender boy cannot simply turn off his gender identity like a switch,

just as a non-transgender (also known as “cisgender”) boy cannot turn off his gender identity.




4
  The terms “sex designated at birth” or “sex assigned at birth” are more precise than the term “biological sex” because
there are many biological sex characteristics, and they do not always align with each other.



                                                           9
          Case 8:25-cv-00337-BAH                Document 1          Filed 02/04/25        Page 12 of 44



           43.      The health and wellbeing of all people, including those who are transgender,

depends on their ability to live in a manner consistent with their gender identity. The process by

which transgender or nonbinary people begin to live in a manner consistent with their gender

identity is known as “social transition.” This can include using a new name, pronouns that

correspond to a person’s gender identity, and adopting dress or grooming styles that more

authentically reflect a person’s gender. For transgender people, the incongruence between their

gender identity and sex assigned at birth can cause clinically significant distress.

           44.      According to the American Psychiatric Association’s Diagnostic & Statistical

Manual of Mental Disorders, Fifth Edition, Text Revision (“DSM-5-TR”), “gender dysphoria” is

the diagnostic term for the condition experienced by some transgender people of clinically

significant distress resulting from the lack of congruence between their gender identity and the sex

assigned to them at birth. To be diagnosed with gender dysphoria, the incongruence must have

persisted for at least six months and be accompanied by clinically significant distress or

impairment in social, occupational, or other important areas of functioning. 5

           45.      Gender dysphoria is a serious medical condition. 6 Treatment for gender dysphoria

aims to resolve the distress associated with the incongruence between a transgender person’s

assigned sex at birth and their gender identity.

           46.      If left untreated, gender dysphoria can result in negative mental health outcomes,

including severe anxiety and depression, post-traumatic stress disorder, eating disorders, substance

abuse, self-harm, and suicidality.




5
    Am. Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental Disorders, Text Revision F64.0 (5th ed. 2022).
6
 See Eric Yarbrough et al., Am. Psych. Ass’n, Gender Dysphoria Diagnosis, in A GUIDE FOR WORKING WITH
TRANSGENDER AND GENDER NONCONFORMING PATIENTS (2017).



                                                          10
       Case 8:25-cv-00337-BAH               Document 1   Filed 02/04/25      Page 13 of 44



        47.     For many transgender adolescents, the onset of puberty leading to physical changes

in their bodies that are incongruent with their gender identities can cause extreme distress.

Puberty-delaying medication allows transgender adolescents to pause these changes, thereby

minimizing and potentially preventing the heightened gender dysphoria caused by the

development of secondary sex characteristics incongruent with their gender identity. Without

puberty-delaying medication, an adolescent will undergo changes to their body that may be

difficult or impossible to later reverse.

        48.     Puberty-delaying treatment is temporary.       If an adolescent discontinues the

medication, endogenous puberty resumes. Puberty-delaying treatment does not cause infertility.

        49.     For some older adolescents and young adults, it may be medically necessary and

appropriate to treat them with gender affirming hormone therapy (e.g., testosterone for transgender

boys and estrogen and testosterone suppression for transgender girls).

        50.     Gender affirming hormone therapy does not necessarily result in a loss of fertility,

and many individuals treated with hormone therapy can still biologically conceive children.

        51.     As with all medications that could affect fertility, transgender patients—and their

parents, in the case of adolescent patients—are counseled on the potential risks of the medical

intervention, and treatment is only initiated where patients are properly informed and

consent/assent to the care.

        52.     Adolescents and young adults who first receive treatment later in puberty and are

treated only with gender affirming hormone therapy (and not puberty-delaying treatment) also go

through a hormonal puberty consistent with their gender identity. However, they will have

undergone physical changes associated with their endogenous puberty that may not be wholly

reversed by hormone therapy or even surgery later in life.




                                                  11
       Case 8:25-cv-00337-BAH          Document 1        Filed 02/04/25      Page 14 of 44



       53.     Some older adolescents and young adults also may receive chest surgeries,

provided they are medically indicated in accordance with established clinical practice guidelines.

       54.     Medical treatment recommended for and provided to transgender young people

with gender dysphoria can substantially reduce lifelong gender dysphoria and eliminate the

medical need for some surgeries or other medical interventions later in life.

       55.     Providing gender affirming medical care can be lifesaving treatment and positively

change the short- and long-term health outcomes for transgender adolescents.

       56.     The treatments used to treat gender dysphoria are also used to treat other conditions.

in both adolescents and adults. For example, puberty-delaying medication is used to treat children

with central precocious puberty and is used to treat adolescents and adults with hormone-sensitive

cancers and endometriosis. For delayed puberty, non-transgender boys are prescribed testosterone

and non-transgender girls are prescribed estrogen. Testosterone suppression is also used in non-

transgender girls with Polycystic Ovarian Syndrome to reduce some symptoms of the condition,

including excess facial hair. And chest surgery is often used to treat gynecomastia in non-

transgender adolescents and young adults.

       57.     The potential risks associated with these medical interventions when used to treat

gender dysphoria are comparable to the risks associated with many other medical treatments to

which parents routinely consent on behalf of their children—and that the Executive Orders permit.

       58.     The Executive Orders do not prohibit these treatments when used to treat any

condition other than gender dysphoria, even though the treatments have comparable risks and side

effects to those that can be present when treating gender dysphoria. The use of these treatments

for gender dysphoria is not any riskier than for other conditions and diagnoses for which the same

treatments are regularly used.




                                                12
       Case 8:25-cv-00337-BAH            Document 1        Filed 02/04/25       Page 15 of 44



B.     The Executive Orders

       1.       The Gender Identity Order

       59.      On January 20, 2025, President Trump issued the Gender Identity Order.

       60.      Section 2 of the Gender Identity Order declares: “It is the policy of the United States

to recognize two sexes, male and female. These sexes are not changeable and are grounded in

fundamental and incontrovertible reality.”

        61.     Section 2(a) defines “sex” to mean “an individual’s immutable biological

classification as either male or female,” which is “not a synonym for and does not include the

concept of ‘gender identity.’” Section 2(d) defines “female” as “a person belonging, at conception,

to the sex that produces the large reproductive cell,” and Section 2(e) defines “male” as “a person

belonging, at conception, to the sex that produces the small reproductive cell.”

        62.     Section 2(f) claims that “‘[g]ender ideology’ replaces the biological category of sex

with an ever-shifting concept of self-assessed gender identity, permitting the false claim that males

can identify as and thus become women and vice versa, and requiring all institutions of society to

regard this false claim as true.” It further asserts that “[g]ender ideology is internally inconsistent,

in that it diminishes sex as an identifiable or useful category but nevertheless maintains that it is

possible for a person to be born in the wrong sexed body.”

        63.     Section 2(g) states that “‘[g]ender identity’ reflects a fully internal and subjective

sense of self, disconnected from biological reality and sex and existing on an infinite continuum,

that does not provide a meaningful basis for identification and cannot be recognized as a

replacement for sex.”

        64.     To achieve the objective of eradicating “gender ideology,” Section 3(g) of the

Executive Order declares: “Federal funds shall not be used to promote gender ideology.” President




                                                  13
       Case 8:25-cv-00337-BAH            Document 1        Filed 02/04/25       Page 16 of 44



Trump directs that “[e]ach agency shall assess grant conditions and grantee preferences and ensure

grant funds do not promote gender ideology.”

        2.      The Denial of Care Order

        65.     On January 28, 2025, President Trump issued the Denial of Care Order, which

builds on the Gender Identity Order.

        66.     Section 1 declares that “it is the policy of the United States that it will not fund,

sponsor, promote, assist, or support the so-called ‘transition’ of a child from one sex to another,

and it will rigorously enforce all laws that prohibit or limit these destructive and life-altering

procedures.”

        67.     Section 2 defines “‘child’ or ‘children’” to mean “an individual or individuals under

19 years of age,” and it defines “pediatric” as “relating to the medical care of a child.”

        68.     Section 2 defines the phrase “chemical and surgical mutilation” to mean “the use

of puberty blockers . . . to delay the onset or progression of normally timed puberty in an individual

who does not identify as his or her sex; the use of sex hormones . . . to align an individual’s physical

appearance with an identity that differs from his or her sex; and surgical procedures that attempt

to transform an individual’s physical appearance to align with an identity that differs from his or

her sex or that attempt to alter or remove an individual’s sexual organs to minimize or destroy their

natural biological functions.”

        69.     To eradicate access to health care provided for the purpose of gender transition,

Section 4 of the Denial of Care Order directs the immediate defunding of medical institutions that

provide such treatments. Importantly, the funding instructed to be stripped is not limited to grants

used for or related to gender affirming medical care for the purpose of gender transition. President

Trump unilaterally directs that all federal medical and research grants be stripped from medical




                                                  14
       Case 8:25-cv-00337-BAH           Document 1        Filed 02/04/25      Page 17 of 44



institutions, medical schools and hospitals, that provide medically necessary gender affirming

medical care to patients under nineteen for the purpose of gender transition, regardless of whether

the funds are used for or related to such care.

        70.     In Section 4 of the Denial of Care Order, President Trump commands: “The head

of each executive department or agency (agency) that provides research or education grants to

medical institutions, including medical schools and hospitals, shall, consistent with applicable law

and in coordination with the Director of the Office of Management and Budget, immediately take

appropriate steps to ensure that institutions receiving Federal research or education grants end the

chemical and surgical mutilation of children.”

        71.     Critically, the Gender Identity and Denial of Care Orders do not seek to prohibit

federal funding to entities that provide these treatments for all medical conditions; rather, they

prohibit federal funding to entities only when the gender affirming medical care is for the purpose

of gender transition—that is, to align a patient’s gender presentation with an identity different from

their sex assigned at birth.

C.      The Executive Orders Are Part of a Systematic Effort Targeting Transgender People

        72.     The Gender Identity and Denial of Care Orders are part of a broad and sweeping

attack President Trump has launched against “gender ideology” and transgender people through a

series of discriminatory Executive Orders. In his first nine full days in office, President Trump

signed nine Executive Orders targeting gender identity and transgender people—a rate of

approximately one per day. These orders span military service, health care, education, and

employment, part of a systematic and expressly discriminatory attack on gender identity and

transgender people.




                                                  15
          Case 8:25-cv-00337-BAH                Document 1          Filed 02/04/25        Page 18 of 44



           73.      On his first day in office, President Trump issued Executive Order 14,148,

rescinding several Biden Administration Executive Orders that provided protections for

transgender people (the “Rescission Order”). 7

           74.      President Trump then issued Executive Order 14,183, banning transgender people

from serving in the military, and revoked Executive Order 14,004, which had allowed all qualified

persons to serve in the military. 8 As justification, President Trump declared that “expressing a

false ‘gender identity’ divergent from an individual’s sex cannot satisfy the rigorous standards

necessary for military service” and “is not consistent with the humility and selflessness required

of a service member.” The language in Executive Order 14,183, on its face, expressly and

unequivocally evidences President Trump’s discriminatory animus toward transgender people.

           75.      President Trump has acted to discriminate against transgender people in other

contexts as well. For example, Executive Order 14,170 forbids government employers from

considering gender identity in the hiring process, 9 and Executive Order 14,190 eliminates federal

funding for K-12 schools that “directly or indirectly support” the “instruction, advancement, or

promotion” of “gender ideology” in their curricula for students or in training materials for

instructors. 10 It also goes beyond the Denial of Care and Gender Identity Orders to prohibit the

use of federal funds “to directly or indirectly support or subsidize the social transition of a minor

student.” “Social transition” is defined as “the process of adopting a ‘gender identity’ or ‘gender

marker’ that differs from a person’s sex.”



7
 Exec. Order No. 14,148, Initial Rescissions of Harmful Executive Orders and Actions, 90 Fed. Reg. 8237 (Jan. 20,
2025).
8
    Exec. Order No. 14,183, Prioritizing Military Excellence and Readiness, 90 Fed. Reg. 8757 (Jan. 27, 2025).
9
 Exec. Order No. 14,170, Reforming the Federal Hiring Process and Restoring Merit to Government Service, Fed.
Reg. 8621 (Jan. 20, 2025).
10
     Exec. Order No. 14,190, Ending Radical Indoctrination in K-12 Schooling, 90 Fed. Reg. 8853 (Jan. 29, 2025).



                                                          16
       Case 8:25-cv-00337-BAH               Document 1          Filed 02/04/25        Page 19 of 44



        76.      In addition, federal agencies like the CDC, a subagency of Defendant HHS, have

been instructed to remove references to or mentions of terms such as “gender,” “transgender,”

“LGBT,” “transsexual,” and “non-binary,” among others. 11

D.      The Impact of the Executive Orders on Medical Care and Harm to Public Health

        77.      The Denial of Care and Gender Identity Orders have had direct and immediate

effects on the provision of medical care to transgender people under nineteen.

        78.      Medical institutions across the United States that receive federal funding have

stopped providing gender affirming medical care for patients younger than nineteen because of the

Executive Orders. 12

        79.      Hospitals and other healthcare institutions fear that if they do not stop providing

gender affirming medical care to their transgender patients, they will immediately lose significant

federal funding for research, medical education, and health care, including research and care

unrelated to the provision of treatment of gender dysphoria, and also face lawsuits from the Justice

Department.

        80.      Defendant HRSA has already issued notices to grant recipients that HRSA grant

funds may not be used for activities that “do not align with” the Executive Orders and any “vestige,

remnant, or re-named piece of any programs in conflict with these E.O.s are terminated in whole

or in part.”




11
  Jeremy Faust, CDC Orders Mass Retraction and Revision of Submitted Research Across All Science and
Medicine Journals. Banned Terms Must Be Scrubbed, INSIDE MED. (Feb. 1, 2025),
https://insidemedicine.substack.com/p/breaking-news-cdc-orders-mass-retraction.
12
  Carla K. Johnson, et al., Denver Health is Pausing Gender-Affirming Care to Comply with Trump Executive Order,
CPR NEWS (Jan. 31, 2025), https://www.cpr.org/2025/01/31/denver-health-pauses-gender-affirming-care/; Jenna
Portnoy, After Trump Order, Hospitals Suspend Some Health Care for Trans Youths, WASH. POST (Jan. 31, 2025),
https://www.washingtonpost.com/dc-md-va/2025/01/31/trans-children-trump-hormones-healthcare/.



                                                      17
       Case 8:25-cv-00337-BAH               Document 1         Filed 02/04/25        Page 20 of 44



        81.      Indeed, the Office of Management and Budget recently cut off all federal funds

without warning. Two federal lawsuits, an administrative stay, and a temporary restraining order

were required to stop this unilateral executive action.

        82.      Children’s National in Washington, D.C., which provides care to Minor Plaintiff

Gabe Goe, receives 70% of its research funding from federal agencies, including 60% from

Defendant NIH. In fiscal year 2023, Children’s National received $69.6 million in funding from

Defendant NIH and $8.7 million from Defendant HRSA.

        83.      On January 30, 2025, two days after the issuance of the Denial of Care Order,

Children’s National announced that it is pausing its provision of puberty blockers and hormone

therapy prescriptions for transgender youth, citing “the guidelines in the Executive Order.” 13 That

same day, Minor Plaintiff Gabe Goe was informed that Children’s National was no longer issuing

new prescriptions or processing refills on existing prescriptions for gender affirming medical care

for people under nineteen. Gabe thus would not be able to start hormone therapy as planned.

        84.      Virginia Commonwealth University (“VCU”) Health and Children’s Hospital of

Richmond in Richmond, Virginia, in which Minor Plaintiff W.G. was scheduled to receive gender

affirming medical care, receives federal funding, including nearly $7.3 million in grants from

Defendant HRSA and nearly $107 million in grants from Defendant NIH in fiscal year 2023.

        85.      UVA Health in Charlottesville, Virginia receives federal funding, including more

than $200 million in grants from Defendant NIH in fiscal year 2023.

        86.      On January 28, 2025, the Attorney General of Virginia Jason Miyares sent a letter

to the University of Virginia and Virginia Commonwealth University advising that the Denial of




13
   Children’s National Hospital Statement on Executive Order (Jan. 30, 2025),
https://www.childrensnational.org/about-us/newsroom/2025/statement-on-executive-order.



                                                     18
         Case 8:25-cv-00337-BAH                Document 1          Filed 02/04/25          Page 21 of 44



Care Order “directs federal agencies to immediately ensure that medical institutions that receive

federal research or education grants end chemical and surgical mutilation of children.” He warned

that “any hospital or other institution, including agencies of the Commonwealth, that continues to

perform chemical and surgical mutilation of children is at risk of losing such grants,” and noted

that “the grants are not just limited to those related to this subject matter, but could apply to all

medical and research grants from federal agencies.” 14

         87.      In “response to” the Denial of Care Order and the Attorney General’s letter, VCU

Health and Children’s Hospital of Richmond announced they were suspending gender affirming

medical care for patients under nineteen. 15 As a result, on January 29, 2025, hours before her

scheduled appointment to meet with a doctor at the clinic continue her hormone treatment for

gender dysphoria, VCU Health informed Plaintiff W.G. that her appointment was cancelled.

         88.      UVA Health also immediately suspended all gender affirming medical care for

patients under nineteen in “response to” the Denial of Care Order and the Attorney General’s

letter. 16

         89.      NYU Langone Health in New York City, New York, which provides care to Minor

Plaintiff Cameron Coe, Minor Plaintiff Bella Boe, and Adult Plaintiff Lawrence Loe, receives

federal funding, including $5.6 million in grants from Defendants HRSA and NIH in the last

twelve months.




14
  Letter from Jason Miyares, Attorney General of Virginia, to the University of Virginia and Virginia Commonwealth
University (Jan. 28, 2025).
15
  Transgender, CHILDREN’S HOSP. OF RICHMOND AT VCU (Feb. 1, 2025),
https://www.chrichmond.org/services/transgender/.
16
  Gender Health Services Impacted by Executive Order, UVA HEALTH,
https://childrens.uvahealth.com/services/transgender-youth-health (last visited Feb. 1, 2025).



                                                         19
       Case 8:25-cv-00337-BAH               Document 1         Filed 02/04/25        Page 22 of 44



        90.      Following the issuance of the Denial of Care Order, NYU Langone Health began

cancelling appointments for medical care for transgender patients under nineteen. The day after

the Denial of Care Order was issued, NYU Langone informed Minor Plaintiff Cameron Coe that

their appointment to receive a puberty blocking implant was cancelled, told Minor Plaintiff Bella

Boe that NYU would not be able to schedule Bella’s appointment to receive a puberty blocking

implant, and informed Adult Plaintiff Lawrence Loe that his gender affirming surgery scheduled

for the next week was cancelled.

        91.      An NYU doctor said that this denial of care was due to “the new administration.”

Another employee said the medical team was “awaiting more guidance” before providing care. 17

        92.      Boston Children’s Hospital in Boston, Massachusetts, which provides care to

Minor Plaintiff Robert Roe, received more than $27.5 million in grants from Defendant HRSA

and more than $245 million in grants from Defendant NIH in fiscal year 2023.

        93.      Following the issuance of the Denial of Care Order, Boston Children’s Hospital

cancelled its immediate appointments with transgender patients under nineteen. Minor Plaintiff

Robert Roe’s routine hormone therapy checkup set for January 29, 2025 was cancelled.

        94.      Denver Health in Denver, Colorado received more than $25 million in grants from

Defendant HRSA and more than $700,000 in grants from Defendant NIH in fiscal year 2023.

        95.      Denver Health has stopped providing gender affirming medical care to patients

under nineteen in response to the Denial of Care Order.                  In a statement, Denver Health

acknowledged that the Order would lead to “increased risk of depression, anxiety, and suicidality”

among transgender adolescents. However, it is concerned about the “criminal and financial




17
  Joseph Goldstein, N.Y. Hospital Stops Treating 2 Children After Trump’s Trans Care Order, N.Y. TIMES (Feb. 1,
2025), https://www.nytimes.com/2025/02/01/nyregion/nyu-langone-hospital-trans-care-youth.html.



                                                      20
          Case 8:25-cv-00337-BAH          Document 1         Filed 02/04/25        Page 23 of 44



consequences for those who do not comply [with the Denial of Care Order],” including the loss of

participation in federal programs administered by HHS that “represent a significant portion of

Denver Health’s funding.” The statement asserted: “The loss of this funding would critically

impair [Denver Health’s] ability to provide care for the Denver community.” 18

           96.     As demonstrated, the Denial of Care and Gender Identity Executive Orders have

directly forced medical institutions across the United States to suspend providing critical medical

care to their transgender patients under nineteen out of fear that they will lose all federal funding

upon which they rely to provide care to their surrounding communities.

           97.     On February 3, 2025, the White House issued a press release touting the broad and

immediate effects of the Denial of Care Order, stating: “It’s already having its intended effect –

preventing children from being maimed and sterilized by adults perpetuating a radical, false claim

that they can somehow change a child’s sex. Hospitals around the country are taking action to

downsize or eliminate their so-called ‘gender-affirming care’ programs.” 19

           98.     By directing agencies to withhold all federal funding from entities that “promote

gender ideology” and provide gender affirming medical care to patients under nineteen, the Gender

Identity and Denial of Care Orders threaten the ability of medical institutions and healthcare

providers throughout the U.S. to provide essential health care to their communities, train the next

generation of physicians, and support research to address this country’s greatest health challenges.




18
  Melissa Reeves & Jaleesa Irizarry, UCHealth and Denver Health Pause Gender-Affirming Care for Trans Youth,
9NEWS (Jan. 31, 2025), https://www.9news.com/article/news/local/local-politics/denver-health-pauses-gender-
affirming-surgeries-minors-federal-funding/73-e61f598b-e32d-474e-94b4-4b11d4c5c8af.
19
     News Release, supra note 3.



                                                    21
       Case 8:25-cv-00337-BAH          Document 1       Filed 02/04/25      Page 24 of 44



E.     The Harm of the Executive Orders to the Individual Plaintiffs

       1.      The Goe Family

       99.     Gabe Goe is fourteen years old and lives in Maryland with his family. He is creative

and kind.

       100.    Gabe is transgender. He is a boy with a male gender identity, but when he was

born, he was designated as female. Gabe has been loved and supported by his family, school, and

community since he socially transitioned when he was twelve.

       101.    Gabe has been diagnosed with gender dysphoria. Gabe and his family have worked

with a multi-disciplinary team at Children’s National Hospital in Washington, D.C., including an

endocrinologist and a psychologist, to identify appropriate medical treatment for his gender

dysphoria, including starting testosterone.

       102.    In November 2024, after extensively discussing the risks and benefits with the

endocrinologist, along with the requirement for blood testing and psychologist’s letter of support,

Gabe’s family scheduled an appointment for March 2025 to start testosterone.

       103.    On January 30, 2025, after the President signed the Denial of Care Order, the

psychologist at Children’s National told George that because of the Denial of Care Order, she

could finish Gabe’s evaluation after another appointment, but Children’s National was no longer

issuing new prescriptions or processing refills on existing prescriptions for gender affirming

medical care for people under nineteen. Gabe would not be able to start testosterone as planned.

       104.    Gabe has been looking forward to this part of his transition. Treating his gender

dysphoria by starting testosterone will allow him to physically develop as a young man, which is

how he sees himself and how he presents himself to the world. George is heartbroken for his son,

and the rest of Gabe’s family is devastated. They are worried that the Denial of Care Order is the




                                                22
       Case 8:25-cv-00337-BAH           Document 1        Filed 02/04/25      Page 25 of 44



first step in enabling other people to discriminate against their son or that the government will look

the other way if hate crimes are committed against transgender people like Gabe.

       2.      The Boe Family

       105.    Bella Boe is twelve years old and lives in New York with her family.

       106.    Bella is transgender. She is a girl with a female gender identity, but when she was

born, she was designated as male.

       107.    From the time Bella was a toddler, she would tell her parents she wanted to have

long hair and she did not want to have a beard when she grew up. Closer to puberty, Bella told

her parents that she identifies as a girl. She has also been diagnosed with gender dysphoria.

       108.    Bella’s family did not impose gendered expectations on her. Based on her gender

expression, she has experienced bullying. Her classmates called her slurs, and they targeted her

both in and out of school. One student grabbed Bella, called her trans, and told her to kill herself.

She began to miss school and developed depression. Once she moved to a new school, where she

can live fully as herself, her wellbeing improved dramatically.

       109.    Bella’s parents sought medical care for her at NYU Langone Health’s Transgender

Youth Health Program. After extensive conversations about risks and benefits, Bruce decided in

consultation with Bella and her doctors that a puberty blocking implant was the right decision to

treat her gender dysphoria by halting the changes of endogenous male puberty before they could

cause her further distress.

       110.    On January 28, 2025, after President Trump signed the Denial of Care Order, NYU

refused to schedule Bella’s implant appointment. NYU told Bella’s parents NYU was likely

changing its policies on gender affirming medical care in response to the Denial of Care Order.




                                                 23
       Case 8:25-cv-00337-BAH            Document 1        Filed 02/04/25   Page 26 of 44



After rescheduling and cancelling again, NYU told Bruce it had shut down all appointments for

gender affirming medical care.

       111.    Bruce is afraid of the impact that the Executive Orders will have on Bella. Bella

has already started puberty. She is already fearful, worried, and scared about what she might look

like in the future if she does not get the care that she needs.

       112.    Because of the Executive Orders, Bella’s family is scared that they have no way of

getting Bella the care she requires. Bruce is worried that she will regress and become depressed

again without this care.

       3.      The Coe Family

       113.    Cameron Coe is twelve years old and lives in New York with their family.

       114.    Cameron is transgender. They are non-binary, but when they were born, they were

designated as male.

       115.    From the age of four, Cameron communicated to their parents that they were neither

a boy nor a girl. They began to express their non-binary identity in the fourth grade.

       116.    Cameron began seeing a therapist who diagnosed them with gender dysphoria.

They also met with doctors at NYU Langone Health to learn about options for medical care.

       117.    Once Cameron began to enter puberty, Cameron grew more uncomfortable in their

changing body, and they expressed anxiety about going through a masculine puberty. As puberty

continued, they experienced escalating stress, anxiety, and discomfort in their body.

       118.    The Coe family first went to NYU Langone purely to learn more about potential

medical and non-medical options. The doctor they met with counseled them on the available

options, including the potential for pubertal suppression. Based on Cameron’s escalating distress,

blood testing showed high levels of endogenous testosterone, the imminence of permanent




                                                  24
       Case 8:25-cv-00337-BAH           Document 1        Filed 02/04/25      Page 27 of 44



physical changes, consultation with doctors, and the need for more time to consider whether to

pursue further medical treatment without worrying about Cameron’s body changing right now, the

Coe family decided to pursue puberty-suppressing medications, with a letter of support from

Cameron’s therapist. Cameron received an injection of puberty-suppressing medication in fall

2024, with a plan to eventually receive an implant that would last longer.

       119.    Beginning puberty-suppressing medication had a positive effect on Cameron. They

experienced enormous relief after their first injection and started doing better socially.

       120.    The earliest that Cameron was able to schedule an appointment for a puberty-

blocking implant at NYU Langone was January 31, 2025. On January 29, 2025, Cameron’s family

received a call from NYU Langone informing them that the appointment was cancelled.

       121.    Cameron’s anxiety has increased greatly because of the fear of not being able to

continue puberty-blocking medication. This has had negative physical consequences, including

stomach pains and insomnia. Cameron’s parents are worried about immediate severe distress and

suicidality if Cameron remains unable to receive necessary gender affirming medical care.

       4.      The Roe Family

       122.    Robert Roe is sixteen years old and lives in Massachusetts with his family. Robert

is a smart, active, and involved teenager. He is an honors student and talented at sports.

       123.    Robert is transgender. He is a boy with a male gender identity, but when he was

born, he was designated as female. Because Robert is adopted, he is eligible for health insurance

through MassHealth until he turns 26.

       124.    Robert started to express his gender identity at two years old. He began his social

transition at eight years old and received a gender dysphoria diagnosis at nine.




                                                 25
       Case 8:25-cv-00337-BAH          Document 1        Filed 02/04/25     Page 28 of 44



       125.    Robert has been receiving medical care from GeMS at Boston Children’s Hospital

for several years. A team of doctors there thoroughly explained how puberty-delaying medications

and hormone replacement therapy work, as well as the benefits and risks of both.

       126.    Robert received a puberty-blocking implant at age 12 at GeMS.            He started

receiving hormone therapy at age fourteen at GeMS.

       127.    Robert had an appointment scheduled at GeMS on January 29, 2025.              It was

supposed to be a regular check-up for his hormone therapy, where his providers would do his

bloodwork and confirm that his dosage was correct.

       128.    But the morning of January 29, a nurse practitioner at GeMS called Robert’s mother

Rachel to tell her that because of the Denial of Care Order and out of an abundance of caution,

GeMS was cancelling all of its appointments for people under the age of 19.

       129.    Without access to necessary medical care, Rachel is fearful that Robert will

experience significant distress and anxiety. He never experienced endogenous female puberty

because of the blockers; he has only ever lived life as a boy. He needs testosterone to continue to

live his life. Because of the Executive Orders, Robert’s family does not know how else to get him

access to the care he needs.

       130.    Rachel has seen Robert become a successful, involved, and happy young man. She

is scared of what will happen to his confidence and happiness if he cannot access the care he needs.

       5.      The Chapman Family

       131.    W.G. is seventeen years old and lives in Virginia with her family.

       132.    W.G. is transgender. She is a girl with a female gender identity, but when she was

born, she was designated as male. W.G. has known for most of her life that she is a girl.

       133.    Because of the Chapmans’ income, W.G. is eligible for and enrolled in Medicaid.




                                                26
      Case 8:25-cv-00337-BAH          Document 1       Filed 02/04/25      Page 29 of 44



       134.   In spring 2020, W.G. came out as transgender to her mother, Kristen.

       135.   Kristen took W.G., who was then twelve, to her pediatrician at Vanderbilt

University Medical Center’s Pediatric Transgender Clinic.

       136.   The process for W.G. to start necessary medical care was prolonged and deliberate.

W.G.’s doctor discussed puberty blockers and the potential side effects over multiple visits, and

her evaluation and diagnosis took almost a year. Eventually, W.G. was diagnosed with gender

dysphoria. After consultation with W.G.’s providers, W.G.’s parents discussed the benefits and

risks of treatment with puberty blockers and decided that it was the best course of treatment for

W.G., so that she did not develop male characteristics before hormones were indicated for her.

When she was thirteen, W.G. began puberty blockers.

       137.   W.G. and her family hoped that she could begin taking estrogen in December 2023,

around the time she turned sixteen. But in March 2023, Tennessee enacted a ban on gender

affirming medical care for transgender minors.

       138.   As a result of the law in Tennessee and to ensure W.G.’s safety and access to

necessary medical care, the Chapmans moved to Virginia in July 2023.

       139.   Once in Virginia, W.G. began seeing a doctor at a family clinic, who after

consultation and discussion with W.G. and her family, and a review of her medical records from

Vanderbilt, prescribed W.G. estrogen in September 2023.

       140.   However, because the family clinic did not accept Medicaid, W.G.’s mother,

Kristen, had to pay for these appointments out of pocket, which became cost prohibitive. W.G.’s

doctor suggested that the Chapmans establish care with the Children’s Hospital of Richmond.

       141.   In December 2024, they were finally able to schedule an appointment for January

29, 2025, for W.G. to meet with a doctor and continue hormone treatment.




                                                 27
       Case 8:25-cv-00337-BAH           Document 1       Filed 02/04/25     Page 30 of 44



       142.    A few hours before the appointment, a member of the VCU staff called Kristen to

inform her that “because of everything going on”—seemingly a reference to the Denial of Care

Order—VCU would no longer be able to provide W.G.’s necessary medical treatment.

       143.    W.G. and her family moved to Virginia to escape the discrimination that they faced

in Tennessee and ensure that W.G. would have access to necessary medical care. Now, Kristen

feels that the rug has been pulled out from underneath their feet.

       144.    Given the family’s limited income, Kristen is unsure how she will be able to secure

W.G.’s treatment.

       6.      Lawrence Loe

       145.    Lawrence Loe is eighteen years old and lives in New York with his father.

       146.    Lawrence is transgender. He is a man with a male gender identity, but when he

was born, he was designated as female.

       147.    After starting puberty, Lawrence sought support from a therapist for navigating his

strong feelings that something was wrong with his changing body, and he eventually received a

formal diagnosis of gender dysphoria.

       148.    At thirteen years old, he started a medication to suppress menstruation and manage

his distress. In consultation with his doctors and parents, he began testosterone when he was 16.

       149.    Testosterone has had a dramatic positive effect on Lawrence’s mental health and

wellbeing. Prior to starting testosterone, he had experienced significant mental health issues due

to gender dysphoria.

       150.    Lawrence has been looking forward to receiving chest masculinization surgery for

six years. To get an appointment for surgery, he obtained a letter of support signed by his longtime

therapist and another mental health professional, and another one signed by his doctor. His surgery




                                                28
       Case 8:25-cv-00337-BAH           Document 1       Filed 02/04/25      Page 31 of 44



was planned for the first week of February at NYU Langone. He has been preparing for his surgery

by making appropriate arrangements, undergoing blood testing, and attending a pre-operative

appointment. He has been counting down to the day he is able to obtain surgery. Trying to flatten

his chest is physically painful and hard on his skin.

       151.    On January 29, 2025, Lawrence received a call from a nurse practitioner at NYU

Langone who told him that because of the Denial of Care Order, NYU was cancelling his surgery

appointment, and would not reschedule him until after he turned nineteen.

       152.    Lawrence is devastated, angry, and saddened to think the necessary medical care

he has been working toward for so long could be pulled away from him, even though he is an adult.

       7.      Dylan Doe

       153.    Dylan Doe is eighteen years old and lives in Massachusetts.

       154.    Next year, Dylan plans to go to college to study linguistics. He already speaks three

languages and is learning two more. He wants to help preserve endangered languages.

       155.    Dylan is transgender. He is a man with a male gender identity, but when he was

born, he was designated as female.

       156.    Dylan came out as transgender when he was twelve years old. He was formally

diagnosed with gender dysphoria. The year after he came out, he began puberty blockers. When

he was fourteen, he began to take testosterone, which he has continued to take since.

       157.    Dylan’s family decided to move from Tennessee to Massachusetts in 2021 because

the anti-transgender laws in Tennessee created a hostile environment.

       158.    Dylan lives a full life in Massachusetts. He goes to school, has friends, volunteers

in his community, and has a job.

       159.    Dylan has gone to a doctor’s appointment every four months to receive testosterone.




                                                 29
       Case 8:25-cv-00337-BAH            Document 1         Filed 02/04/25      Page 32 of 44



        160.    Dylan had an appointment scheduled for January 31, 2025, where he was supposed

to receive testosterone as he normally does.

        161.    On January 30, 2025, a provider from the clinic called to tell Dylan that his

appointment was cancelled and would need to be postponed because of the Denial of Care Order.

        162.    Access to health care makes Dylan’s life livable. When he thinks about losing it,

he becomes too depressed to function. Before he had access to that care, he was so anxious about

not passing as male that it inhibited his social life. Healthcare is an essential part of his life.

        163.    If the Denial of Care Order is not enjoined, and Dylan cannot access health care for

another year, he will be devastated. He may have to travel abroad to seek care. He does not think

he should have to leave his doctor or his country to live his life, especially as an adult.

F.      The Harm of the Executive Orders to Members of PFLAG and GLMA

        1.      PFLAG

        164.    Since the issuance of the Denial of Care Order, PFLAG has heard from members

across the U.S. about their adolescents’ appointments for gender affirming medical care being

cancelled.

        165.    From Massachusetts to Washington to Colorado to New York to Illinois to

Maryland and beyond, hospitals and healthcare systems have shut down appointments and

cancelled procedures that PFLAG families and their transgender and nonbinary children had

scheduled to treat their gender dysphoria as a direct result of the Denial of Care Order. The

cancellations include appointments for young people whose providers had already deemed puberty

blockers or hormone therapy to be medically necessary for them. Eighteen-year-olds—legal

adults—also had scheduled surgical procedures cancelled.




                                                   30
       Case 8:25-cv-00337-BAH          Document 1        Filed 02/04/25     Page 33 of 44



       166.    The Denial of Care Order has stripped PFLAG families of their ability to obtain

medically necessary care to treat their children’s gender dysphoria, putting those children at risk

of serious mental and physical harm—the very reasons families seek this medical care in the first

place. And it denies them the ability to make the decisions that they, their children, and their

children’s medical providers know are in their best interests.

       167.    The Denial of Care Order has directly harmed and puts at risk the lives of young

transgender and non-binary PFLAG members.

       2.      GLMA

       168.    Since President Trump issued the Denial of Care Order, GLMA’s members and

their patients have been and will continue to be immediately negatively affected.

       169.    Many GLMA members are employed by medical institutions that receive federal

grants, including some medical provider members that provide medically necessary gender

affirming medical care to patients under nineteen.

       170.    Many of the medical institutions that employ GLMA’s members rely on federal

grants and financial assistance from the NIH, HRSA, CDC, and AHRQ, among others, to provide

healthcare to their communities, train the next generation of physicians, and support research

aimed at addressing this nation’s greatest health challenges. The vast majority of these grants do

not relate to the provision of medical interventions for the treatment of gender dysphoria.

       171.    Because of the Executive Orders’ mandate to strip all federal funding if medical

institutions continue to provide gender affirming medical care—even when the funding is not

related to gender affirming medical care—some medical institutions that employ GLMA medical

provider members already have prohibited GLMA members from providing medically necessary




                                                31
       Case 8:25-cv-00337-BAH          Document 1        Filed 02/04/25      Page 34 of 44



gender affirming medical care to patients under the age of nineteen pursuant to well-established

clinical guidelines.

       172.    The Executive Orders have created grave uncertainty and distress for GLMA’s

medical provider members and their patients. They also are in direct conflict with the Hippocratic

oath members swore as doctors and with statutes that GLMA members are required to follow,

which prohibit discrimination on the basis of sex and transgender status.

       173.    GLMA’s members also include individuals who are directors, investigators, or

otherwise employed on projects and programs funded by federal grants, including grants from the

NIH, among other federal agencies and entities. Such federal funding is the lifeblood of scientific

advancement in medicine.

       174.    GLMA members who are directors, investigators, or otherwise employed on

projects and programs funded by federal grants fear they will immediately lose all federal research

grant funding under the funding mandate of the Executive Orders if their medical institution

continues to provide gender affirming medical care to patients under the age of nineteen.

       175.    GLMA’s members also include health profession students.

       176.    Student members will lose their federal tuition assistance under the financial

mandate of the Executive Orders if their medical institution continues to provide medically

necessary gender affirming medical care to patients under the age of nineteen.

                                    CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF
     Ultra Vires – Presidential Action in Excess of Authority; Usurping the Legislative
            Function; Violation of the Bicameralism and Presentment Clauses
                           (All Plaintiffs Against All Defendants)

       177.    Plaintiffs restate and reallege paragraphs 1 to 176 set forth above.

       178.    The President’s authority stems from either an act of Congress or the Constitution.



                                                32
       Case 8:25-cv-00337-BAH           Document 1       Filed 02/04/25      Page 35 of 44



       179.    Article II of the Constitution tasks the President to “take Care that the Laws be

faithfully executed.” U.S. CONST. art. II, § 3.

       180.    Article I of the Constitution vests Congress with the powers to make laws and

control the public fisc. The Presentment Clause provides that “[e]very Bill which shall have passed

the House of Representatives and the Senate, shall, before it become a Law, be presented to the

President of the United States.” U.S. CONST. art. I, § 7, cl. 2. The Appropriations Clause provides

that no “[m]oney shall be drawn from the Treasury, but in Consequence of Appropriations made

by Law,” U.S. CONST. art. I, § 7, and the Spending Clause vests Congress with the power to expend

Treasury funds for the “general Welfare of the United States.” U.S. CONST. art. I, § 8, cl. 1.

       181.    As part of its power over the public fisc, Congress distributes millions of dollars

every year in healthcare, research, and educational grants. Congress may specify how its grants

are used in its annual appropriations bill or by passing federal statutes. None of the Congressional

conditions placed on the grants administered or disbursed by HHS, HRSA, NIH, or any other

HHS’s subagencies condition federal funds on the terminating gender affirming medical care.

       182.    No provision of the Constitution authorizes the Executive Branch to enact, amend,

or repeal statutes, including appropriations approved and signed into law.

       183.    The Executive cannot directly and unilaterally amend or cancel appropriations

Congress has duly enacted, nor can he order federal agencies to do so.

       184.    Section 4 of the Denial of Care Order directs agencies to terminate all federal

grants—without regard to the statute authorizing those grants, any applicable regulations, or the

terms governing each grant. Section 3(g) of the Gender Identity Order similarly directs agencies

to terminate grants that the Executive considers to “promote gender ideology,” again, without

regard to the authorizing statute, any applicable regulations, or the terms governing each grant.




                                                  33
       Case 8:25-cv-00337-BAH          Document 1        Filed 02/04/25      Page 36 of 44



       185.    By directing agencies to terminate or withhold congressionally appropriated grants

based on the President’s own policy preferences, the Denial of Care and Gender Identity Orders

attempt to amend, repeal, rescind, or circumvent duly enacted federal statutes or appropriations.

       186.     By directing agencies to terminate or withhold congressionally appropriated

grants, the Denial of Care and Gender Identity Orders attempt to expend public funds to advance

the President’s policy preferences, rather than those of Congress. These actions exceed the

President’s Article II powers, unconstitutionally infringe upon Congress’s powers, and attempt to

amend federal legislation while bypassing Article I’s Bicameralism and Presentment Clauses.

       187.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the Denial

of Care and Gender Identity Orders violate the separation of powers and impermissibly arrogate

to the executive power that is reserved to Congress.

       188.    Plaintiffs are further entitled to a preliminary and permanent injunction preventing

the Agency Defendants, including any subagencies of Defendant HHS, from enforcing or

implementing the Denial of Care and the Gender Identity Orders.

                              SECOND CLAIM FOR RELIEF
      Ultra Vires – Conflicts with Statutory Law – Discrimination on the Basis of Sex
                            (All Plaintiffs Against All Defendants)

       189.    Plaintiffs restate and reallege paragraphs 1 to 188 set forth above.

       190.    Section 1557 of the Affordable Care Act (“ACA”), 42 U.S.C. § 18116, provides

that an individual shall not on the basis of sex “be subjected to discrimination under[ ] any health

program or activity, any part of which is receiving Federal financial assistance.”

       191.    Section 1908 of the Public Health Service Act (“PHSA”), 42 U.S.C. § 300w-7,

similarly prohibits discrimination on the basis of sex in programs, services, and activities

“receiving Federal financial assistance” through Preventive Health and Health Services Block




                                                34
       Case 8:25-cv-00337-BAH          Document 1        Filed 02/04/25     Page 37 of 44



Grants, which Defendant Fink allots as the Acting Secretary of Defendant HHS. See 42 U.S.C. §

300w-1.

        192.   Discrimination based on transgender status, including discrimination based on the

fact that medical treatment is provided for purpose of gender transition by aligning a patient’s

gender presentation with an identity different from their sex assigned at birth, constitutes

discrimination on the basis of sex under Section 1557 of the ACA and Section 1908 of the PHSA.

        193.   Federal law—passed by both houses of Congress and signed by the President—

prohibits medical institutions and healthcare entities receiving federal grants from discriminating

based on sex as a condition of receiving federal financial assistance. The Executive Orders attempt

to override that statutory scheme with President Trump’s unilateral declaration that medical

institutions and healthcare entities must do the opposite and deny gender affirming medical care

to people under nineteen based solely on the fact that health care is for the purpose of gender

transition.

        194.   The Gender Identity and Denial of Care Orders facially discriminate based on sex.

For example, they direct agencies to withhold grants from entities that “promote gender ideology”

or that provide “gender affirming care,” i.e., medical care “to align an individual’s physical

appearance with an identity that differs from his or her sex.”

        195.   The Executive Orders were issued for the openly discriminatory purpose of

preventing transgender people from expressing a gender identity different from their sex

designated at birth—and to express governmental disapproval of people who do so.

        196.   President Trump does not have the power to override Section 1557 of the ACA or

Section 1908 of the PHSA and require federal grantees to engage in precisely the discrimination

that those laws prohibit.




                                                35
       Case 8:25-cv-00337-BAH            Document 1         Filed 02/04/25      Page 38 of 44



        197.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the Gender

Identity and Denial of Care Orders are ultra vires as they impermissibly direct agencies to take

actions in violation of statutory laws that prohibit discrimination on the basis of sex.

        198.    Plaintiffs are further entitled to a preliminary and permanent injunction preventing

the Agency Defendants, including any subagencies of Defendant HHS, from enforcing or

implementing the Denial of Care and the Gender Identity Orders.

                               THIRD CLAIM FOR RELIEF
   Ultra Vires – Conflicts with Statutory Law – Discrimination on the Basis of Disability
                            (All Plaintiffs Against All Defendants)

        199.    Plaintiffs restate and reallege paragraphs 1 to 198 set forth above.

        200.    Section 504 of the Rehabilitation Act provides that “[n]o otherwise qualified

individual with a disability . . . shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving Federal financial assistance.” 29 U.S.C. § 794.

        201.    Section 1557 of the ACA similarly prohibits discrimination on the basis of

disability by “any health program or activity, any part of which is receiving Federal financial

assistance.” 42 U.S.C. § 18116.

        202.    Gender dysphoria qualifies for protection as a “disability” under the Rehabilitation

Act and consequently under Section 1557 of the ACA.

        203.    Withholding health care based solely on the fact that the health care is intended to

treat gender dysphoria is discrimination based on disability under the Rehabilitation Act and

Section 1557 of the ACA.

        204.    President Trump does not have the power to override the Rehabilitation Act or

Section 1557 of the ACA and require federal grantees to engage in precisely the discrimination

that the Rehabilitation Act and Section 1557 prohibit.


                                                   36
       Case 8:25-cv-00337-BAH            Document 1       Filed 02/04/25       Page 39 of 44



       205.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the Gender

Identity and Denial of Care Orders are ultra vires and impermissibly direct agencies to take actions

that violate statutory law that prohibit discrimination on the basis of disability.

       206.    Plaintiffs are further entitled to a preliminary and permanent injunction preventing

the Agency Defendants, including any subagencies of Defendant HHS, from enforcing or

implementing the Denial of Care and the Gender Identity Orders.

                              FOURTH CLAIM FOR RELIEF
              Violation of Equal Protection Component of the Fifth Amendment
                  (Transgender Plaintiffs and PFLAG Against All Defendants)

       207.     Plaintiffs restate and reallege paragraphs 1 to 206 set forth above.

       208.    The Equal Protection Clause of the Fourteenth Amendment, which is incorporated

into the Fifth Amendment, protects individuals from discrimination on the basis of sex.

       209.    By directing agencies to withhold grants from entities that “promote gender

ideology” or provide gender affirming medical care to transgender people under nineteen, the

Gender Identity and Denial of Care Orders discriminate based on sex and transgender status.

       210.    The Executive Orders facially discriminate based on sex because they direct

agencies to withhold grants from entities that “promote gender ideology” by providing medical

care “to align an individual’s physical appearance with an identity that differs from his or her sex.”

       211.    The Executive Orders also facially discriminate based on transgender status

because they direct agencies to withhold grants from entities based solely on the fact that those

entities provide healthcare for the purpose of gender transition, that is, helping a patient’s gender

presentation to align with an identity different from their sex assigned at birth.

       212.    Agencies are not required to withhold grants from entities that provide the same

healthcare for the purpose of helping a patient’s gender presentation to align with an identity that

corresponds with their sex assigned at birth.


                                                  37
       Case 8:25-cv-00337-BAH            Document 1        Filed 02/04/25       Page 40 of 44



        213.    Under any standard of scrutiny, the Executive Orders’ deprivation of the right to

equal protection of the laws cannot be justified as sufficiently related to an interest in protecting

the health and safety of transgender people under nineteen. Instead of protecting health and safety,

the Gender Identity and Denial of Care Orders harm transgender people under nineteen, including

the Minor Plaintiffs and Adult Plaintiffs, by denying them medically necessary care.

        214.    The Gender Identity and Denial of Care Orders were issued for the openly

discriminatory purpose of preventing transgender people from expressing a gender identity

different from their sex designated at birth—and expressing governmental disapproval of people

who do so—which are not legitimate governmental interests under any standard of review.

        215.    The Gender Identity and Denial of Care Orders violate the equal protection rights

of transgender people under nineteen under the Fifth Amendment.

                                 FIFTH CLAIM FOR RELIEF
               Violation of Substantive Due Process Under the Fifth Amendment
                      (Parent Plaintiffs and PFLAG Against All Defendants)

        216.    Plaintiffs restate and reallege paragraphs 1 to 215 set forth above.

        217.    The Due Process Clause of the Fifth Amendment protects the fundamental rights

of parents to decide on medical care for their children—an interest that is especially strong when

it aligns with the judgment of medical providers and their adolescent children.

        218.    By directing agencies to withhold grants from entities that provide gender affirming

medical care to minors, the Gender Identity and Denial of Care Orders infringe upon parents’

fundamental rights by overriding the aligned judgment of parents, adolescents, and their doctors

regarding medically necessary care.

        219.    Under any standard of scrutiny, the Executive Orders’ infringement on parental

rights cannot be justified as sufficiently related to an interest in protecting the health and safety of




                                                  38
      Case 8:25-cv-00337-BAH           Document 1       Filed 02/04/25      Page 41 of 44



children. Instead of protecting health and safety, the Gender Identity and Denial of Care Orders

harm children by denying them medically necessary care.

       220.    The Gender Identity and Denial of Care Orders were issued for the openly

discriminatory purpose of preventing transgender people from expressing a gender identity

different from their sex designated at birth—and expressing governmental disapproval of people

who do so—which are not legitimate governmental interests under any standard of review.

       221.    The Gender Identity and Denial of Care Orders unconstitutionally infringe the

fundamental rights of parents under the Fifth Amendment.

                                SIXTH CLAIM FOR RELIEF
               Violation of First Amendment of the United States Constitution
          (Transgender Plaintiffs and Organizational Plaintiffs Against All Defendants)

       222.    Plaintiffs restate and reallege paragraphs 1 to 221 set forth above.

       223.    The First Amendment prohibits the government from “abridging the freedom of

speech.” U.S. CONST. amend. 1.

       224.    Section 3(g) of the Gender Identity Order directs “[e]ach agency” to “assess grant

conditions and grantee preferences and ensure grant funds do not promote gender ideology.”

Section 4 of the Denial of Care Order implements that directive, ordering agencies to “immediately

take appropriate steps to ensure that institutions receiving Federal research or education grants

end” gender affirming medical care.

       225.    By withholding federal grants, the Orders engage in unconstitutional viewpoint

discrimination in violation of the First Amendment and violate the rights of grant recipients and

transgender patients.




                                                39
      Case 8:25-cv-00337-BAH         Document 1        Filed 02/04/25     Page 42 of 44



                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs request that the Court grant the following relief:

      A.     Declare that Section 3(g) of the Gender Identity Order and the Denial of Care Order

      are unconstitutional and unlawful;

      B.     Issue temporary, preliminary, and permanent injunctive relief enjoining Agency

      Defendants, including any subagencies of Defendant HHS, their employees, agents, and

      successors in office and those in active concert or participation with them, from

      implementing or enforcing Section 3(g) of the Gender Identity Order and the Denial of

      Care Order or otherwise withholding federal funding based on the fact that a healthcare

      entity provides gender affirming medical care;

      C.     Waive the requirement for the posting of a bond of security for the entry of

      temporary and preliminary relief;

      D.     Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

      fees; and

      E.     Grant any other and further relief that this Court may deem just and proper.

Date: February 4, 2025                            Respectfully submitted

                                                   /s/ Zachary B. Cohen
Joshua Block*
Harper Seldin*                                     Omar Gonzalez-Pagan*
Chase Strangio*                                    Jennifer C. Pizer*
Alexandra R. Johnson*                              Lambda Legal Defense
American Civil Liberties Union                        and Education Fund, Inc.
  Foundation                                       120 Wall Street, 19th Floor
125 Broad Street, Floor 18                         New York, NY 10005
New York, NY 10004                                 Telephone: (212) 809-8585
Telephone: (212) 549-2500                          Facsimile: (855) 535-2236
Facsimile: (212) 549-2650                          ogonzalez-pagan@lambdalegal.org
jblock@aclu.org                                    jpizer@lambdalegal.org
hseldin@aclu.org
cstrangio@aclu.org
a.johnson@aclu.org


                                             40
      Case 8:25-cv-00337-BAH        Document 1     Filed 02/04/25       Page 43 of 44




Deborah A. Jeon (Bar No. 06905)                  Karen L. Loewy*
Zoe M. Ginsberg (Bar No. 30727)                  Lambda Legal Defense
American Civil Liberties Union                      and Education Fund, Inc.
  Foundation of Maryland                         815 16th Street NW, Suite 4140
3600 Clipper Mill Road, Suite 200                Washington, DC 20006
Baltimore, MD 21211                              Telephone: (202) 804-6245
Telephone: (410) 889-8555                        Facsimile: (855) 535-2236
Facsimile: (410) 366-7838                        kloewy@lambdalegal.org
jeon@aclu-md.org
zginsberg@aclu-md.org                            Nora Huppert*
                                                 Lambda Legal Defense
Laura J. Edelstein*                                and Education Fund, Inc.
Kai N. Galindo*                                  65 E. Wacker Place, Suite 2000
Jenner & Block LLP                               Chicago, IL 60601
525 Market Street, 29th Floor                    Telephone: (312) 605-3233
San Francisco, CA 94105                          Facsimile: (855) 535-2236
Telephone: (628) 267-6800                        nhuppert@lambdalegal.org
Facsimile: (628) 267-6859
LEdelstein@jenner.com                            Catherine E. Stetson*
KGalindo@jenner.com                              Danielle Desaulniers Stempel (Bar No. 20501,
                                                 Renewed 1/31/25)
Madeleine V. Findley*                            Kristina Alekseyeva*
Zachary B. Cohen (Bar No. 20159)                 Sam H. Zwingli*
Mary-Claire Spurgin*                             Hogan Lovells US LLP
Jenner & Block LLP                               555 13th Street, N.W.
1099 New York Avenue, NW, Suite 900              Washington, D.C. 20004
Washington, DC 20001                             Telephone: (202) 637-5491
Telephone: (202) 639-6000                        Facsimile: (202) 637-5910
Facsimile: (202) 639-6066                        cate.stetson@hoganlovells.com
MFindley@jenner.com                              danielle.stempel@hoganlovells.com
MSpurgin@jenner.com                              kristina.alekseyeva@hoganlovells.com
                                                 sam.zwingli@hoganlovells.com
Jocelyn A. Sitton*
Lillian M. McGuire*                              Jackson Skeen**
Rebecca M. Diamond*                              Hogan Lovells US LLP
Jenner & Block LLP                               125 High Street
353 N. Clark Street                              Suite 2010
Chicago, IL 60654                                Boston, MA 02110
Telephone: (312) 222-9350                        Telephone: (617) 702-7747
Facsimile: (312) 527-0484                        Facsimile: (617) 371-1037
JSitton@jenner.com                               jackson.skeen@hoganlovells.com
LMcGuire@jenner.com
RDiamond@jenner.com                              Attorneys for Plaintiffs




                                          41
Case 8:25-cv-00337-BAH   Document 1     Filed 02/04/25     Page 44 of 44



                                      *Application for admission or admission pro
                                      hac vice forthcoming.

                                      ** Application for admission pro hac vice
                                      forthcoming and admitted only in
                                      D.C. Supervised by principals of the firm
                                      admitted in Massachusetts.




                               42
